Case 1:17-cv-02989-AT Document 1250-1 Filed 01/11/22 Page 1 of 3

EXHIBIT A
Case 1:17-cv-02989-AT Document 1250-1 Filed 01/11/22 Page 2 of 3

election in the state of Georgia.

Curling Plaintiffs object to this Request as irrelevant and overly broad,
particularly as it relates to “all” communications, “any persons,” and “otherwise
concerning Georgia’s Election System.” The scope of the search necessary to
comply with this Request far exceeds the issues in this litigation. This Request
does not seek relevant information, serves no legitimate purpose, and further
impinges on the First Amendment rights of Curling Plaintiffs. Any non-
objectionable scope of this request is already encompassed by previous requests.
Curling Plaintiffs have produced all responsive communications based on a
reasonable search in accordance with the parameters ordered by the Court
(including for personal email accounts).

REQUEST FOR PRODUCTION NO. 3:

All documents or communications related to the “important and time-
sensitive issue” raised with the Court in the Litigation via electronic mail on or
about December 23, 2020, including but not limited to any such documents or
communications between you and the Court ex parte.

RESPONSE:
Curling Plaintiffs object to this Request as untimely, given that it was served

on the last day of fact discovery, which was not extended to allow the Defendants

ny-2228 138
Case 1:17-cv-02989-AT Document 1250-1 Filed 01/11/22 Page 3 of 3

to serve new discovery requests that could have been served at any time in the past
year.

Curling Plaintiffs object to this Request as irrelevant. This Request does not
seek relevant information and serves no legitimate purpose. To the extent any
responsive information exists in connection with an “important and time-sensitive
issue” raised with the Court in the Litigation via electronic mail on or about
December 23, 2020, that information is contained in the expert disclosures of Dr. J.
Alex Halderman.

REQUEST FOR PRODUCTION NO. 4:

All communications between you and any individual who is not
participating as an expert witness or counsel in the litigation concerning the report
of Dr. J. Alex Halderman produced in this case, and any documents related thereto.
This request shall be limited to the time-period July 1, 2021 to present.
RESPONSE:

Curling Plaintiffs object to this Request as untimely, given that it was served
on the last day of fact discovery, which was not extended to allow the Defendants
to serve new discovery requests that could have been served at any time in the past
year.

Curling Plaintiffs object to the definition of “you” and “your” to the extent

ny-2228138
